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                             UNITED STATES BANKRUPTCY COURT
                            WESTERN DISTRICT OF NORTH CAROLINA
                                   CHARLOTTE DIVISION

 In re:                                          §    Case No. 12-31051-JCW
                                                 §
 MARK ROBERT ADKINS                              §
                                                 §
                                                 §
                    Debtor(s)                    §

          CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION REPORT
          CERTIFICATION THAT THE ESTATE HAS BEEN FULLY ADMINISTERED
                     AND APPLICATION TO BE DISCHARGED (TDR)

         A. Burton Shuford, chapter 7 trustee, submits this Final Account, Certification that the
 Estate has been Fully Administered and Application to be Discharged.

       1)       All funds on hand have been distributed in accordance with the Trustee’s Final
Report and, if applicable, any order of the Court modifying the Final Report. The case is fully
administered and all assets and funds which have come under the trustee’s control in this case
have been properly accounted for as provided by law. The trustee hereby requests to be
discharged from further duties as a trustee.

       2)      A summary of assets abandoned, assets exempt, total distributions to claimants,
claims discharged without payment, and expenses of administration is provided below:



Assets Abandoned:             $4,251,346.72          Assets Exempt:        $247,868.00
(without deducting any secured claims)



Total Distributions to                               Claims Discharged
Claimants:                      $469,881.84          Without Payment:      $23,591,511.11

Total Expenses of
Administration:                 $218,907.23


        3)      Total gross receipts of $688,789.07 (see Exhibit 1), minus funds paid to the
debtor(s) and third parties of $0.00 (see Exhibit 2), yielded net receipts of $688,789.07 from the
liquidation of the property of the estate, which was distributed as follows:
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                             CLAIMS             CLAIMS            CLAIMS            CLAIMS
                           SCHEDULED           ASSERTED          ALLOWED             PAID
Secured Claims
(from Exhibit 3)                     $0.00        $55,000.00        $55,000.00       $55,000.00
Priority Claims:
    Chapter 7 Admin
    Fees and Charges                   NA       $218,907.23       $218,907.23       $218,907.23
     (from Exhibit 4)
    Prior Chapter
    Admin Fees and                     NA              $0.00             $0.00             $0.00
    Charges (from
    Exhibit 5)
    Priority Unsecured
    Claims                           $0.00             $0.00             $0.00             $0.00
    (From Exhibit 6)
General Unsecured
Claims (from Exhibit                 $0.00     $37,067,886.0     $24,006,392.9      $414,881.84
7)                                                         3                 5
Total Disbursements
                                     $0.00     $37,341,793.2     $24,280,300.1      $688,789.07
                                                           6                 8

      4). This case was originally filed under chapter 7 on 05/04/2012. The case was pending
for 112 months.

     5). All estate bank statements, deposit slips, and canceled checks have been submitted to
the Bankruptcy Administrator.

      6). An individual estate property record and report showing the final accounting of the
assets of the estate is attached as Exhibit 8. The cash receipts and disbursements records for
each estate bank account, showing the final accounting of the receipts and disbursements of
estate funds is attached as Exhibit 9.

     Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
foregoing report is true and correct.

     Dated: 09/07/2021                            By: /s/ A. Burton Shuford
                                                  /A. Trustee
                                                  Bur
                                                  ton
                                                  Shu
                                                  ford
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                                                EXHIBITS TO
                                               FINAL ACCOUNT

EXHIBIT 1 – GROSS RECEIPTS

                       DESCRIPTION                                        UNIFORM                         AMOUNT
                                                                         TRAN. CODE                      RECEIVED
0.995 Acres, Obids Township, Ashe County, NC See Deed                       1110-000                       $3,184.00
recorded in Book 332, Page 2466 Ashe County Public Registry
11.894 acres, Obids Township, Ashe County, NC See Deed                      1110-000                      $22,500.00
recorded in Book 375, Page 1975 Ashe County, NC Public
Registry
839 Snowqueen Drive Chuluota, FL 32766                                      1110-000                     $470,000.00
Household goods & furnishings 16309 Belle Isle Drive                        1129-000                      $50,000.00
Cornelius, NC 28031-7702 See attached listing. Value excludes
items
NewDominion Bank PO Box 37389 Charlotte, NC 28237                           1129-000                      $11,384.84
Checking Account No. 6386 - IN NAME OF WF GROUP I NC,
LLC
WATERFRONT GROUP STELLARVIEW, LLCDEBTOR IS                                  1129-000                      $17,500.00
50%
Tax Refund                                                                  1224-000                      $16,632.00
SALE OF ASSET (1/2 of Equipment in Iron Station Building)                   1229-000                       $8,750.00
SALE OF ASSET (1/2 sale of Airport Hangers)                                 1229-000                      $23,483.21
Waterfront Group NC, LLC Debtor is 50% member and a                         1290-000                      $65,355.02
manager. Riversound development. BB&T is creditor. Controlls
POA. No
TOTAL GROSS RECEIPTS                                                                                     $688,789.07


EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES
NONE


EXHIBIT 3 – SECURED CLAIMS

 CLAIM         CLAIMANT            UNIFORM             CLAIMS                  CLAIMS   CLAIMS             CLAIMS
NUMBER                            TRAN. CODE        SCHEDULED                ASSERTED ALLOWED                PAID
    19       Yeopim Partners,       4220-000                    $0.00          $15,000.00   $15,000.00    $15,000.00
             LLC
    20       International          4220-000                    $0.00          $40,000.00   $40,000.00    $40,000.00
             Fidelity Insurance
             Company Co
TOTAL SECURED CLAIMS                                            $0.00          $55,000.00   $55,000.00    $55,000.00


  EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES

      PAYEE              UNIFORM               CLAIMS                CLAIMS              CLAIMS            CLAIMS
                        TRAN. CODE          SCHEDULED              ASSERTED            ALLOWED               PAID
A. BURTON                  2100-000                    NA               $27,694.55      $27,694.55        $27,694.55
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SHUFORD, Trustee
R. Keith Johnson,        2100-000               NA       $9,994.90    $9,994.90       $9,994.90
Trustee
A. BURTON                2200-000               NA         $38.79       $38.79          $38.79
SHUFORD, Trustee
INTERNATIONAL            2300-000               NA        $103.22      $103.22         $103.22
SURETIES INC
Trustee Insurance        2420-000               NA        $303.26      $303.26         $303.26
Agency
Deed Stamps              2500-000               NA       $3,290.00    $3,290.00       $3,290.00
Lien Search, Title       2500-000               NA       $6,494.81    $6,494.81       $6,494.81
Fees, Home Warranty,
Etc.
Independent Bank         2600-000               NA        $313.22      $313.22         $313.22
UNION BANK               2600-000               NA       $2,898.02    $2,898.02       $2,898.02
United Bank              2600-000               NA        $765.56      $765.56         $765.56
Clerk of Superior        2700-000               NA           $6.00        $6.00           $6.00
Court
2015                     2820-000               NA       $4,220.33    $4,220.33       $4,220.33
Pro-Rate County          2820-000               NA        $211.79      $211.79         $211.79
Taxes - 2016
Lowrance Reporting       2990-000               NA        $217.00      $217.00         $217.00
Service, Inc.
Napples Court            2990-000               NA        $229.37      $229.37         $229.37
Reporting & Legal
Services, LLC
A. BURTON                3110-000               NA      $33,789.00   $33,789.00      $33,789.00
SHUFORD, Attorney
for Trustee
R. KEITH                 3110-000               NA      $92,458.25   $92,458.25      $92,458.25
JOHNSON, Attorney
for Trustee
A. BURTON                3120-000               NA       $1,089.84    $1,089.84       $1,089.84
SHUFORD, Attorney
for Trustee
R. Keith Johnson,        3120-000               NA        $350.00      $350.00         $350.00
P.A., Attorney for
Trustee
R. KEITH                 3120-000               NA        $615.77      $615.77         $615.77
JOHNSON, PA,
Attorney for Trustee
EDWARD P.                3410-000               NA       $5,578.25    $5,578.25       $5,578.25
BOWERS,
Accountant for
Trustee
EDWARD P.                3420-000               NA         $45.30       $45.30          $45.30
BOWERS,
Accountant for
Trustee
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Commercial Homes &          3510-000               NA           $28,200.00       $28,200.00       $28,200.00
Coldwell Banker,
Realtor for Trustee
TOTAL CHAPTER 7 ADMIN. FEES AND                    NA       $218,907.23         $218,907.23      $218,907.23
CHARGES


EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES
NONE


EXHIBIT 6 – PRIORITY UNSECURED CLAIMS
NONE


EXHIBIT 7 – GENERAL UNSECURED CLAIMS

 CLAIM       CLAIMANT             UNIFORM          CLAIMS           CLAIMS          CLAIMS         CLAIMS
NUMBER                           TRAN. CODE     SCHEDULED         ASSERTED        ALLOWED            PAID
    1      Mark Robert             7100-000             $0.00 $1,032,802.00              $0.00         $0.00
           Adkins
    2      Carolina Trust          7100-000             $0.00      $99,161.67            $0.00         $0.00
           Bank
    3      Farm Credit of          7100-000             $0.00     $732,526.59      $732,526.59    $12,822.06
           Northwest
           Florida, ACA
    4      International           7100-000             $0.00 $2,638,227.58      $2,638,227.58    $46,179.25
           Fidelity Insurance
           Company
    5      Geo Raper &             7100-000             $0.00     $197,061.35            $0.00         $0.00
           Son, Inc.
    6      Capital One Bank        7100-000             $0.00         $141.07         $141.07          $0.00
           (USA), N.A.
           Clerk, US               7100-001             $0.00           $0.00            $0.00         $2.47
           Bankruptcy Court
           (Claim No. 6;
           Capital One Bank
           (USA), N.A.)
    7      Cessna Finance          7100-000             $0.00     $359,697.43      $359,697.43     $6,296.11
           Corp.
    8      Wells Fargo             7100-000             $0.00 $3,627,327.84      $3,627,327.84    $63,492.36
           Bank, N.A.
    9      Wells Fargo             7100-000             $0.00 $15,177,368.2 $15,177,368.20       $265,663.03
           Bank, N.A.                                                     0
    10     Wells Fargo             7100-000             $0.00 $1,075,048.02      $1,075,048.02    $18,817.53
           Bank, N.A.
    11     Branch Banking          7100-000             $0.00 $11,732,468.0              $0.00         $0.00
           & Trust Company                                                6
    12     Peoples Bank            7200-000             $0.00      $48,136.78       $48,136.78         $0.00
    13     Peoples Bank            7200-000             $0.00       $8,691.45        $8,691.45         $0.00
    14     CommunityOne            7100-000             $0.00      $91,923.94       $91,923.94     $1,609.03
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        Bank
   15   Wells Fargo         7200-000         $0.00   $247,304.05    $247,304.05         $0.00
        Bank, N.A.
TOTAL GENERAL UNSECURED CLAIMS               $0.00 $37,067,886.0 $24,006,392.95   $414,881.84
                                                               3
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                                               INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                         Exhibit 8
                                                                ASSET CASES
Case No.:                    12-31051-JCW                                                          Trustee Name:                               A. Burton Shuford
Case Name:                   ADKINS, MARK ROBERT                                                   Date Filed (f) or Converted (c):            05/04/2012 (f)
For the Period Ending:       9/7/2021                                                              §341(a) Meeting Date:                       06/06/2012
                                                                                                   Claims Bar Date:                            09/06/2012

                         1                               2                      3                            4                        5                         6

                 Asset Description                    Petition/         Estimated Net Value             Property                Sales/Funds               Asset Fully
                  (Scheduled and                    Unscheduled        (Value Determined by             Abandoned              Received by the         Administered (FA) /
             Unscheduled (u) Property)                 Value                  Trustee,            OA =§ 554(a) abandon.            Estate                Gross Value of
                                                                      Less Liens, Exemptions,                                                           Remaining Assets
                                                                         and Other Costs)

 Ref. #
1       House at 16309 Belle Isle Drive             $2,500,000.00                        $0.00                                               $0.00                       FA
        and Adjoining Lot 16301 Belle
        Isle Drive Cornelius, NC 28031
        Mecklenburg County Parcel
        No. 00131240 and 00131239
2       Cabin in Ashe County, NC                      $175,000.00                        $0.00                                               $0.00                       FA
       Boggs Road Tax ID No.
       12310-096
Asset Notes:    Relief from stay granted
3        Storage Building Mt. Vernon                  $100,000.00                        $0.00                                               $0.00                       FA
         Road Iron Station, NC Tax ID
         No. 51302
4        Adkins Pet Center 3920 East                  $300,000.00                        $0.00                                               $0.00                       FA
         Hwy 27 Iron Station, NC Tax
         ID No. 01650
5        11.894 acres, Obids Township,                 $25,000.00                   $25,000.00                                         $22,500.00                        FA
         Ashe County, NC See Deed
         recorded in Book 375, Page
         1975 Ashe County, NC Public
         Registry
Asset Notes:      Property may be subject to DOT. Subject to pending AP. Joint with William Adkins.
                  See order granting motion to sell Doc 170
6        0.995 Acres, Obids Township,                       $0.00                         $0.00                                           $3,184.00                      FA
         Ashe County, NC See Deed
         recorded in Book 332, Page
         2466 Ashe County Public
         Registry
7      839 Snowqueen Drive                            $297,500.00                  $297,500.00                                        $470,000.00                        FA
       Chuluota, FL 32766
Asset Notes:     Property sold see Doc. 87. Net sales proceeds are held in IOLTA account of Keith Johnson.
8      859 Snowqueen Drive                            $259,000.00                   $13,000.00                                               $0.00                       FA
       Chuluota, FL 32766
Asset Notes:     Non exempt equity settled - see Doc. 69
9        NewDominion Bank PO Box                             $68.00                     $68.00                                         $11,384.84                        FA
         37389 Charlotte, NC 28237
         Checking Account No. 6386 -
         IN NAME OF WF GROUP I
         NC, LLC
10     Household goods & furnishings                   $59,985.00                   $59,985.00                                         $50,000.00                        FA
       16309 Belle Isle Drive
       Cornelius, NC 28031-7702 See
       attached listing. Value excludes
       items listed below.
Asset Notes:      See order at #86
11       2 Chairs and Small Table                         $150.00                        $0.00                                               $0.00                       FA
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                                               INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                  Exhibit 8
                                                                ASSET CASES
Case No.:                       12-31051-JCW                                                   Trustee Name:                             A. Burton Shuford
Case Name:                      ADKINS, MARK ROBERT                                            Date Filed (f) or Converted (c):          05/04/2012 (f)
For the Period Ending:          9/7/2021                                                       §341(a) Meeting Date:                     06/06/2012
                                                                                               Claims Bar Date:                          09/06/2012

                         1                             2                      3                         4                         5                       6

                 Asset Description                  Petition/         Estimated Net Value            Property               Sales/Funds            Asset Fully
                  (Scheduled and                  Unscheduled        (Value Determined by            Abandoned             Received by the      Administered (FA) /
             Unscheduled (u) Property)               Value                  Trustee,           OA =§ 554(a) abandon.           Estate             Gross Value of
                                                                    Less Liens, Exemptions,                                                      Remaining Assets
                                                                       and Other Costs)

12      1 Small Couch                                  $300.00                         $0.00                                            $0.00                     FA
13      Panasonic Flat Screen TV                       $300.00                         $0.00                                            $0.00                     FA
14      Queen-Size Bed                                 $600.00                         $0.00                                            $0.00                     FA
15      1 Arm Chair                                    $100.00                         $0.00                                            $0.00                     FA
16      Small Dresser                                  $200.00                         $0.00                                            $0.00                     FA
17      Maytag Washer and Dryer                        $400.00                         $0.00                                            $0.00                     FA
18      Sectional Couch                                $300.00                         $0.00                                            $0.00                     FA
19      60" Samsung Television                         $500.00                         $0.00                                            $0.00                     FA
20      Glass Coffee Table                             $400.00                         $0.00                                            $0.00                     FA
21      2 Nightstands                                  $300.00                         $0.00                                            $0.00                     FA
22     9' Slate Pool Table                            $1,500.00                       $50.00                                            $0.00                     FA
       (Renaissance)
Asset Notes:      de minimus value
23      3 Lamps                                        $450.00                         $0.00                                            $0.00                     FA
24      Round Glass-Top Table and 4                    $800.00                         $0.00                                            $0.00                     FA
        Chairs
25      Chair and Ottoman                              $150.00                         $0.00                                            $0.00                     FA
26      Clothing                                       $400.00                         $0.00                                            $0.00                     FA
27      Rolex Stainless Steel                         $2,500.00                        $0.00                                            $0.00                     FA
        Sea-Dweller Watch
28      AMT Cal. 380 9mm Kurz Back                     $150.00                         $0.00                                            $0.00                     FA
        Up Pistol
29      Calloway Golf Clubs                            $200.00                         $0.00                                            $0.00                     FA
30      Signed Football                                    $50.00                      $0.00                                            $0.00                     FA
31      Dan Marino Framed Jersey                       $300.00                         $0.00                                            $0.00                     FA
32      529 College Savings Plan f/b/o              $20,141.00                         $0.00                                            $0.00                     FA
        Tyler Herbrandson Morgan
        Keegan 50 N. Front Street
        Memphis, TN 38103
33      WMA Managment, LLC 401(k)                  $204,416.00                         $0.00                                            $0.00                     FA
        PS Plan Oppenheimer Funds
        PO Box 173764 Denver, CO
        80217-3764
34      Morgan Stanley IRA                            $9,211.00                        $0.00                                            $0.00                     FA
35      Adkins Land Group, Inc. f/k/a                 Unknown                          $0.00                                            $0.00                     FA
        Timberline Corporation 50%
        shareholder Possible litigation
        assets
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Case No.:                    12-31051-JCW                                               Trustee Name:                             A. Burton Shuford
Case Name:                   ADKINS, MARK ROBERT                                        Date Filed (f) or Converted (c):          05/04/2012 (f)
For the Period Ending:       9/7/2021                                                   §341(a) Meeting Date:                     06/06/2012
                                                                                        Claims Bar Date:                          09/06/2012

                         1                         2                   3                         4                         5                       6

                 Asset Description               Petition/     Estimated Net Value            Property               Sales/Funds            Asset Fully
                  (Scheduled and               Unscheduled    (Value Determined by            Abandoned             Received by the      Administered (FA) /
             Unscheduled (u) Property)            Value              Trustee,           OA =§ 554(a) abandon.           Estate             Gross Value of
                                                             Less Liens, Exemptions,                                                      Remaining Assets
                                                                and Other Costs)

36      WMA Management, LLC                        Unknown                      $0.00                                            $0.00                     FA
        Manager of present asset
        companies. Debtor owns 1/2
        interest and is a manager. This
        entity is paymaster for
        Debtor's LLCs and holds leases
        for furniture and computers.
        This entity recently conveyed 2
        tractors (subject to debt) to
        Farm & Land Management,
        LLC
37      Adkins Aviation, LLC f/k/a                 Unknown                      $0.00                                            $0.00                     FA
        Timberline Aviation, Inc.
        Debtor is 50% member and a
        manager. Owns 2 aircraft and 1
        hanger. No equity.
38      Swiper Lot Clearing, Inc. f/k/a            Unknown                      $0.00                                            $0.00                     FA
        Four Seasons Landscaping, Inc.
        Debtor is 50% shareholder.
39      Landstar Development, LLC                  Unknown                      $0.00                                            $0.00                     FA
        Debtor is 50% member and a
        manager. Owns Mitchell
        County farm & Ash County
        farm. Cross-collateralized with
        Riversound. No Equity.
40      NC Mountain Investments,                   Unknown                      $0.00                                            $0.00                     FA
        LLC Debtor is 50% member
        and a manager. Recently sold
        mineral rights on 980 acre tract
        in McDowell County for
        $35,000.00.
41      Waterfront Group Florida, LLC              Unknown                      $0.00                                            $0.00                     FA
        Debtor is 50% member and a
        manager. Possible litigation
        assets. Apalachicola River
        Tract - (Farm Credit of NW
        Florida). No equity.
42      Waterfront Group NC, LLC                   Unknown                      $0.00                                      $65,355.02                      FA
        Debtor is 50% member and a
        manager. Riversound
        development. BB&T is
        creditor. Controlls POA. No
        equity.
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                                               INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                      Exhibit 8
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Case No.:                    12-31051-JCW                                                          Trustee Name:                             A. Burton Shuford
Case Name:                   ADKINS, MARK ROBERT                                                   Date Filed (f) or Converted (c):          05/04/2012 (f)
For the Period Ending:       9/7/2021                                                              §341(a) Meeting Date:                     06/06/2012
                                                                                                   Claims Bar Date:                          09/06/2012

                         1                                2                      3                          4                         5                       6

                 Asset Description                     Petition/         Estimated Net Value             Property               Sales/Funds            Asset Fully
                  (Scheduled and                     Unscheduled        (Value Determined by             Abandoned             Received by the      Administered (FA) /
             Unscheduled (u) Property)                  Value                  Trustee,            OA =§ 554(a) abandon.           Estate             Gross Value of
                                                                       Less Liens, Exemptions,                                                       Remaining Assets
                                                                          and Other Costs)

43      Waterfront Group Wetappo,                        Unknown                           $0.00                                            $0.00                     FA
        LLC f/k/a Waterfront Group
        FL, NC Debtor is 50% member
        and a maanger. Controls POA.
        Centennial Bank. Owns marsh
        land to be conveyed to lot
        owners. No equity.
44      Waterfront Group, Inc. Debtor                    Unknown                           $0.00                                            $0.00                     FA
        is 50% shareholder. No
        remaining assets.
45      Waterfront Group, LLC Debtor                     Unknown                           $0.00                                            $0.00                     FA
        is 50% member and a manager.
        No remaining assets.
46      WFG Management, LLC                              Unknown                           $0.00                                            $0.00                     FA
        Debtor is 50% member and a
        manager.
47      Adkins Pet Center Debtor is a                    Unknown                           $0.00                                            $0.00                     FA
        50% Owner
48      255,000 shares in TFN, Inc.                           $0.00                        $0.00                                            $0.00                     FA
        (The Football Network)
49      15,000 shares of SLON Stock                           $0.00                        $0.00                                            $0.00                     FA
50      WMA, LP Sole member of                           Unknown                           $0.00                                            $0.00                     FA
        recent asset companies. WMA
        Management, LLC is its general
        partner. Debtor and William N.
        Adkins are limited partners.
51     Sam Carver - Diamond Point                     $450,000.00                    $450,000.00                                            $0.00                     FA
       Investors Costa Rica
       Condominium Investment
Asset Notes:     Debtor advises that the investment has no value and was lost.
52     Waterfront Group Aurora, LLC                  $48,772.22                       $48,772.22                                            $0.00                     FA
       (Loan)
Asset Notes:    Determined to have no value by previous trustee
53     Waterfront Group Eagles                       $80,374.50                       $80,374.50                                            $0.00                     FA
       Chase, LLC (Loan)
Asset Notes:    Determined to have no value by previous trustee
54      2011 Chevy Avalanche                            $37,650.00                         $0.00                                            $0.00                     FA
55      Office Chair                                       $300.00                         $0.00                                            $0.00                     FA
56      L-Shaped Desk                                      $200.00                         $0.00                                            $0.00                     FA
57      Dell Computer                                      $100.00                         $0.00                                            $0.00                     FA
58      Membership interest in                           Unknown                           $0.00                                            $0.00                     FA
        Peninsula Golf Club
59     2 Carolina Panthers Club Level                   $4,000.00                    $4,000.00                                              $0.00                     FA
       PSL's
Asset Notes:     As noted in Motion at #69, PSLs lapsed by passage of time and no longer exist.
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                                              INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                       Exhibit 8
                                                               ASSET CASES
Case No.:                     12-31051-JCW                                                       Trustee Name:                               A. Burton Shuford
Case Name:                    ADKINS, MARK ROBERT                                                Date Filed (f) or Converted (c):            05/04/2012 (f)
For the Period Ending:        9/7/2021                                                           §341(a) Meeting Date:                       06/06/2012
                                                                                                 Claims Bar Date:                            09/06/2012

                         1                               2                     3                          4                         5                         6

                 Asset Description                    Petition/        Estimated Net Value             Property               Sales/Funds              Asset Fully
                  (Scheduled and                    Unscheduled       (Value Determined by             Abandoned             Received by the        Administered (FA) /
             Unscheduled (u) Property)                 Value                 Trustee,            OA =§ 554(a) abandon.           Estate               Gross Value of
                                                                     Less Liens, Exemptions,                                                         Remaining Assets
                                                                        and Other Costs)

60     Potential claim for fraudulent                 $225,000.00                  $225,000.00                                             $0.00                      FA
       investment against Higher
       Ground, LLC c/o Charles
       Abrams (Mexican "Pink Lady"
       bond)
Asset Notes:      Determined to have no value by previous trustee
61     Potential claim for fraudulent                  $50,000.00                   $50,000.00                                             $0.00                      FA
       investment against Lighthouse
       Capital Investments (No
       Smokes company bond fund
       raise)
Asset Notes:      Determined to have no value by previous trustee
62     Potential claim for fraudulent                  $25,000.00                   $25,000.00                                             $0.00                      FA
       investment against Steve
       Williams (partial ownership of
       a Chinese bond)
Asset Notes:      Determined to have no value by previous trustee
63      Tax Refund                                      Unknown                          $0.00                                       $16,632.00                       FA
Asset Notes:       See order at #86
64     SALE OF ASSET (1/2 sale of                       Unknown                          $0.00                                       $23,483.21                       FA
       Airport Hangers)
Asset Notes:    1/2 sale of Airport Hangers
65     SALE OF ASSET (1/2 of                             Unknown                         $0.00                                          $8,750.00                     FA
       Equipment in Iron Station
       Building)
Asset Notes:     1/2 of Equipment in Iron Station Building
66      WATERFRONT GROUP                      (u)            $0.00                       $0.00                                       $17,500.00                       FA
        STELLARVIEW, LLC
        DEBTOR IS 50%


TOTALS (Excluding unknown value)                                                                                                        Gross Value of Remaining Assets
                                                    $4,881,767.72              $1,278,749.72                                        $688,789.07                  $0.00




     Major Activities affecting case closing:
      01/26/2021      NOTES
      10/06/2020      NOTES
      07/15/2020      NOTES
      04/14/2020      NOTES
      01/13/2020      NOTES
      10/30/2019      NOTES


Initial Projected Date Of Final Report (TFR):          12/31/2020                                                  /s/ A. BURTON SHUFORD
Current Projected Date Of Final Report (TFR):                                                                      A. BURTON SHUFORD
                 Case 12-31051                     Doc 206     Filed 09/07/21 Entered 09/07/21 16:42:34                             Desc Main
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                                                               Document                                                                       Exhibit 9
                                                      CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                           12-31051-JCW                                                      Trustee Name:                           A. Burton Shuford
 Case Name:                         ADKINS, MARK ROBERT                                               Bank Name:                              UNION BANK
 Primary Taxpayer ID #:             **-***2664                                                        Checking Acct #:                        ******3478
 Co-Debtor Taxpayer ID #:                                                                             Account Title:
 For Period Beginning:              5/4/2012                                                          Blanket bond (per case limit):          $5,000,000.00
 For Period Ending:                 9/7/2021                                                          Separate bond (if applicable):

       1                 2                     3                                     4                                   5                6                   7

   Transaction        Check /             Paid to/                     Description of Transaction      Uniform         Deposit       Disbursement         Balance
      Date             Ref. #          Received From                                                  Tran Code          $                $


06/15/2015             (66)     R. Keith Johnson, Trustee;   Sale of Asset                            1129-000         $17,500.00                           $17,500.00
                                Trust Acct
07/27/2015                      UNION BANK                   BANK SERVICE FEE                         2600-000                            $15.00            $17,485.00
08/25/2015                      UNION BANK                   BANK SERVICE FEE                         2600-000                            $26.01            $17,458.99
09/25/2015                      UNION BANK                   BANK SERVICE FEE                         2600-000                            $25.98            $17,433.01
10/19/2015            3000      INTERNATIONAL                Bond Premium                             2300-000                            $10.45            $17,422.56
                                SURETIES INC
10/26/2015                      UNION BANK                   BANK SERVICE FEE                         2600-000                            $25.10            $17,397.46
11/11/2015             (9)      R. Keith Johnson, Trustee    Close of Account                         1129-000         $11,384.84                           $28,782.30
11/25/2015                      UNION BANK                   BANK SERVICE FEE                         2600-000                            $25.90            $28,756.40
12/28/2015                      UNION BANK                   BANK SERVICE FEE                         2600-000                            $35.39            $28,721.01
01/21/2016             (10)     Moon Wright and Houston      Non Exempt Equity                        1129-000         $50,000.00                           $78,721.01
                                PLLC
01/21/2016             (63)     Moon Wright and Houston,     TAX REFUND                               1224-000         $16,632.00                           $95,353.01
                                PLLC
01/25/2016                      UNION BANK                   BANK SERVICE FEE                         2600-000                            $42.73            $95,310.28
02/25/2016                      UNION BANK                   BANK SERVICE FEE                         2600-000                            $74.42            $95,235.86
02/29/2016             (6)      R. Keith Johnson, Trustee    Sale of Asset                            1110-000          $3,184.00                           $98,419.86
                                Trust Acct
02/29/2016             (64)     R. Keith Rohnson,            Sale of Asset                            1229-000         $23,483.21                          $121,903.07
                                Trusstee Trust Acct
02/29/2016             (65)     R. Keith Johnson, Trustee    Sale of Asset                            1229-000          $8,750.00                          $130,653.07
                                Ttrust Acct
03/25/2016                      UNION BANK                   BANK SERVICE FEE                         2600-000                           $132.14           $130,520.93
04/18/2016            3001      R. Keith Johnson, P.A.       Interim Attorney Fees                    3110-000                         $49,958.25           $80,562.68
04/18/2016            3002      R. Keith Johnson             TRUSTEE COMISSION                        2100-000                          $5,745.82           $74,816.86
04/20/2016            3003      Clerk of Superior Court      Other Filing Fee                         2700-000                                $6.00         $74,810.86
04/25/2016                      UNION BANK                   BANK SERVICE FEE                         2600-000                           $193.61            $74,617.25
05/25/2016                      UNION BANK                   BANK SERVICE FEE                         2600-000                           $155.20            $74,462.05
06/27/2016                      UNION BANK                   BANK SERVICE FEE                         2600-000                           $110.55            $74,351.50
07/25/2016                      UNION BANK                   BANK SERVICE FEE                         2600-000                           $106.79            $74,244.71
08/25/2016                      UNION BANK                   BANK SERVICE FEE                         2600-000                           $110.17            $74,134.54
09/26/2016                      UNION BANK                   BANK SERVICE FEE                         2600-000                           $110.01            $74,024.53
10/25/2016                      UNION BANK                   BANK SERVICE FEE                         2600-000                           $106.31            $73,918.22
10/28/2016            3004      INTERNATIONAL                Bond Premium                             2300-000                            $36.26            $73,881.96
                                SURETIES INC
11/25/2016                      UNION BANK                   BANK SERVICE FEE                         2600-000                           $109.69            $73,772.27
12/27/2016                      UNION BANK                   BANK SERVICE FEE                         2600-000                           $105.95            $73,666.32
01/25/2017                      UNION BANK                   BANK SERVICE FEE                         2600-000                           $109.32            $73,557.00
02/27/2017                      UNION BANK                   BANK SERVICE FEE                         2600-000                           $109.45            $73,447.55
03/27/2017                      UNION BANK                   BANK SERVICE FEE                         2600-000                            $98.74            $73,348.81

                                                                                                    SUBTOTALS       $130,934.05        $57,585.24
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                                                             Document                                                                                Exhibit 9
                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                          12-31051-JCW                                                              Trustee Name:                            A. Burton Shuford
Case Name:                        ADKINS, MARK ROBERT                                                       Bank Name:                               UNION BANK
Primary Taxpayer ID #:            **-***2664                                                                Checking Acct #:                         ******3478
Co-Debtor Taxpayer ID #:                                                                                    Account Title:
For Period Beginning:             5/4/2012                                                                  Blanket bond (per case limit):           $5,000,000.00
For Period Ending:                9/7/2021                                                                  Separate bond (if applicable):

       1                2                    3                                   4                                             5                 6                   7

   Transaction       Check /             Paid to/                    Description of Transaction             Uniform          Deposit     Disbursement             Balance
      Date            Ref. #          Received From                                                        Tran Code           $              $


04/25/2017                     UNION BANK                  BANK SERVICE FEE                                 2600-000                            $109.14            $73,239.67
05/25/2017                     UNION BANK                  BANK SERVICE FEE                                 2600-000                            $105.47            $73,134.20
06/26/2017                     UNION BANK                  BANK SERVICE FEE                                 2600-000                            $108.82            $73,025.38
07/25/2017                     UNION BANK                  BANK SERVICE FEE                                 2600-000                            $105.17            $72,920.21
08/25/2017                     UNION BANK                  BANK SERVICE FEE                                 2600-000                            $108.50            $72,811.71
09/25/2017                     UNION BANK                  BANK SERVICE FEE                                 2600-000                            $108.34            $72,703.37
10/24/2017           3005      INTERNATIONAL               Bond # 016036312                                 2300-000                             $33.60            $72,669.77
                               SURETIES INC
10/25/2017                     UNION BANK                  BANK SERVICE FEE                                 2600-000                            $104.70            $72,565.07
10/26/2017           3006      Lowrance Reporting          Payment from Trustee Payment to                  2990-000                            $217.00            $72,348.07
                               Service, Inc.               reporting service for Depositions held on
                                                           10/18/2017
11/27/2017                     UNION BANK                  BANK SERVICE FEE                                 2600-000                            $108.02            $72,240.05
12/26/2017                     UNION BANK                  BANK SERVICE FEE                                 2600-000                            $104.06            $72,135.99
01/25/2018                     UNION BANK                  BANK SERVICE FEE                                 2600-000                            $107.34            $72,028.65
02/13/2018                     United Bank                 Wire transfer to fund United Bank                9999-000                          $72,028.65                 $0.00
                                                           account

                                                                  TOTALS:                                                 $130,934.05        $130,934.05                 $0.00
                                                                      Less: Bank transfers/CDs                                  $0.00         $72,028.65
                                                                  Subtotal                                                $130,934.05         $58,905.40
                                                                      Less: Payments to debtors                                 $0.00              $0.00
                                                                  Net                                                     $130,934.05         $58,905.40


  For the period of 5/4/2012 to 9/7/2021                                              For the entire history of the account between 06/15/2015 to 9/7/2021

  Total Compensable Receipts:                          $130,934.05                    Total Compensable Receipts:                                $130,934.05
  Total Non-Compensable Receipts:                            $0.00                    Total Non-Compensable Receipts:                                  $0.00
  Total Comp/Non Comp Receipts:                        $130,934.05                    Total Comp/Non Comp Receipts:                              $130,934.05
  Total Internal/Transfer Receipts:                          $0.00                    Total Internal/Transfer Receipts:                                $0.00


  Total Compensable Disbursements:                      $58,905.40                    Total Compensable Disbursements:                               $58,905.40
  Total Non-Compensable Disbursements:                       $0.00                    Total Non-Compensable Disbursements:                                $0.00
  Total Comp/Non Comp Disbursements:                    $58,905.40                    Total Comp/Non Comp Disbursements:                             $58,905.40
  Total Internal/Transfer Disbursements:                $72,028.65                    Total Internal/Transfer Disbursements:                         $72,028.65
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                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                          12-31051-JCW                                                                 Trustee Name:                            A. Burton Shuford
Case Name:                        ADKINS, MARK ROBERT                                                          Bank Name:                               Independent Bank
Primary Taxpayer ID #:            **-***2664                                                                   Checking Acct #:                         ******1051
Co-Debtor Taxpayer ID #:                                                                                       Account Title:
For Period Beginning:             5/4/2012                                                                     Blanket bond (per case limit):           $5,000,000.00
For Period Ending:                9/7/2021                                                                     Separate bond (if applicable):

       1                2                    3                                    4                                               5                 6                   7

   Transaction       Check /             Paid to/                     Description of Transaction                Uniform         Deposit       Disbursement          Balance
      Date            Ref. #          Received From                                                            Tran Code          $                $


09/06/2019                     R. KEITH JOHNSON,           TRANSFER FROM PREVIOUS                              9999-000         $46,210.98                            $46,210.98
                               TRUSTEE                     TRUSTEE
02/11/2020           5001      Trustee Insurance Agency    See order at #160 - Vacant Land                     2420-000                            $112.50            $46,098.48
03/31/2020           5002      A. BURTON SHUFORD           SEE ORDER AT ECF NO 164                             3110-000                           $4,709.00           $41,389.48
03/31/2020           5003      A. BURTON SHUFORD           SEE ORDER AT ECF NO 164                             3120-000                            $174.56            $41,214.92
03/31/2020           5004      EDWARD P. BOWERS            SEE ORDER AT ECF NO 165                             3410-000                           $2,949.50           $38,265.42
03/31/2020           5005      EDWARD P. BOWERS            SEE ORDER AT ECF NO 165                             3420-000                             $30.70            $38,234.72
03/31/2020           5006      R. KEITH JOHNSON            SEE ORDER AT ECF NO 166                             3110-000                           $8,490.00           $29,744.72
04/28/2020           5007      Trustee Insurance Agency    See order at #160 - Vacant Land                     2420-000                             $40.76            $29,703.96
06/05/2020           5008      Trustee Insurance Agency    See order at #160 - Vacant Land                     2420-000                             $37.50            $29,666.46
07/09/2020           5009      Trustee Insurance Agency    See order at #160 - Vacant Land                     2420-000                             $37.50            $29,628.96
08/03/2020           5010      Trustee Insurance Agency    See order at #160 - Vacant Land                     2420-000                             $37.50            $29,591.46
08/31/2020                     Independent Bank            Account Analysis Charge                             2600-000                             $43.16            $29,548.30
09/03/2020            5011     Trustee Insurance Agency    See order at #160 - Vacant Land                     2420-000                             $37.50            $29,510.80
09/30/2020                     Independent Bank            Account Analysis Charge                             2600-000                             $43.05            $29,467.75
10/01/2020            (5)      WATERFRONT GROUP            SEE ORDER AT ECF #170                               1110-000         $22,500.00                            $51,967.75
                               PLC LLC
10/01/2020            (5)      WATERFRONT GROUP            Wire was entered 3X - changed to deposit            1110-000         $22,500.00                            $74,467.75
                               PLC LLC                     by TES and then reversed 2X
10/01/2020            (5)      WATERFRONT GROUP            Wire was entered 3X - changed to deposit            1110-000         $22,500.00                            $96,967.75
                               PLC LLC                     by TES and then reversed 2X
10/06/2020            (5)      DEP REVERSE:                Wire was entered 3X - changed to deposit            1110-000      ($22,500.00)                             $74,467.75
                               WATERFRONT GROUP            by TES and then reversed 2X
10/06/2020            (5)      DEP REVERSE:                Wire was entered 3X - changed to deposit            1110-000      ($22,500.00)                             $51,967.75
                               WATERFRONT GROUP            by TES and then reversed 2X
10/30/2020                     Independent Bank            Account Analysis Charge                             2600-000                             $75.78            $51,891.97
11/30/2020                     Independent Bank            Account Analysis Charge                             2600-000                             $75.67            $51,816.30
12/31/2020                     Independent Bank            Account Analysis Charge                             2600-000                             $75.56            $51,740.74
01/27/2021                     R. KEITH JOHNSON,           SALE PROCEEDS SNOW QUEEN                                *         $427,583.07                             $479,323.81
                               P.A.
                      {7}                                                                    $470,000.00       1110-000                                              $479,323.81
                                                           Commercial Homes &                $(28,200.00)      3510-000                                              $479,323.81
                                                           Coldwell Banker
                                                           2015                               $(4,220.33)      2820-000                                              $479,323.81
                                                           Deed Stamps                        $(3,290.00)      2500-000                                              $479,323.81
                                                           Lien Search, Title Fees,           $(6,494.81)      2500-000                                              $479,323.81
                                                           Home Warranty, Etc.
                                                           Pro-Rate County Taxes -                 $(211.79)   2820-000                                              $479,323.81
                                                           2016
03/03/2021                     Independent Bank            Transfer                                            9999-000                         $479,323.81                 $0.00




                                                                                                          SUBTOTALS          $496,294.05        $496,294.05
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                                                 CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                         12-31051-JCW                                                             Trustee Name:                            A. Burton Shuford
Case Name:                       ADKINS, MARK ROBERT                                                      Bank Name:                               Independent Bank
Primary Taxpayer ID #:           **-***2664                                                               Checking Acct #:                         ******1051
Co-Debtor Taxpayer ID #:                                                                                  Account Title:
For Period Beginning:            5/4/2012                                                                 Blanket bond (per case limit):           $5,000,000.00
For Period Ending:               9/7/2021                                                                 Separate bond (if applicable):

      1                 2                   3                                   4                                            5                 6                   7

  Transaction        Check /            Paid to/                    Description of Transaction            Uniform          Deposit     Disbursement            Balance
     Date             Ref. #         Received From                                                       Tran Code           $              $


                                                               TOTALS:                                                  $496,294.05        $496,294.05                 $0.00
                                                                   Less: Bank transfers/CDs                              $46,210.98        $479,323.81
                                                               Subtotal                                                 $450,083.07         $16,970.24
                                                                   Less: Payments to debtors                                  $0.00              $0.00
                                                               Net                                                      $450,083.07         $16,970.24


 For the period of 5/4/2012 to 9/7/2021                                             For the entire history of the account between 08/27/2019 to 9/7/2021

 Total Compensable Receipts:                          $492,500.00                   Total Compensable Receipts:                                $492,500.00
 Total Non-Compensable Receipts:                            $0.00                   Total Non-Compensable Receipts:                                  $0.00
 Total Comp/Non Comp Receipts:                        $492,500.00                   Total Comp/Non Comp Receipts:                              $492,500.00
 Total Internal/Transfer Receipts:                     $46,210.98                   Total Internal/Transfer Receipts:                           $46,210.98


 Total Compensable Disbursements:                      $59,387.17                   Total Compensable Disbursements:                            $59,387.17
 Total Non-Compensable Disbursements:                       $0.00                   Total Non-Compensable Disbursements:                             $0.00
 Total Comp/Non Comp Disbursements:                    $59,387.17                   Total Comp/Non Comp Disbursements:                          $59,387.17
 Total Internal/Transfer Disbursements:               $479,323.81                   Total Internal/Transfer Disbursements:                     $479,323.81
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                                                   CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                           12-31051-JCW                                                               Trustee Name:                            A. Burton Shuford
Case Name:                         ADKINS, MARK ROBERT                                                        Bank Name:                               Independent Bank
Primary Taxpayer ID #:             **-***2664                                                                 Checking Acct #:                         ******1051
Co-Debtor Taxpayer ID #:                                                                                      Account Title:
For Period Beginning:              5/4/2012                                                                   Blanket bond (per case limit):           $5,000,000.00
For Period Ending:                 9/7/2021                                                                   Separate bond (if applicable):

       1                2                     3                                    4                                             5                 6                   7

   Transaction       Check /              Paid to/                     Description of Transaction              Uniform         Deposit     Disbursement            Balance
      Date            Ref. #           Received From                                                          Tran Code          $              $


03/03/2021                     Independent Bank             Transfer                                          9999-000      $479,323.81                             $479,323.81
03/31/2021                     Independent Bank             Account Analysis Charge                           2600-000                            $698.99           $478,624.82
04/01/2021                     Independent Bank             Bank Fee Reversal                                 2600-000                           ($698.99)          $479,323.81
04/28/2021           6001      A. BURTON SHUFORD            SEE ORDER AT ECF 192                              3110-000                          $28,220.00          $451,103.81
04/28/2021           6002      A. BURTON SHUFORD            SEE ORDER AT ECF 192                              3120-000                            $730.91           $450,372.90
04/30/2021                     Independent Bank             Account Analysis Charge                           2600-000                            $698.99           $449,673.91
05/07/2021                     Independent Bank             Bank Fee Reversal                                 2600-000                           ($698.99)          $450,372.90
06/22/2021           6003      A. BURTON SHUFORD            Final Distribution Claim #: ; Distribution        3120-000                            $184.37           $450,188.53
                                                            Dividend: 100.00;
06/22/2021           6004      A. BURTON SHUFORD            Final Distribution Claim #: ; Distribution        3110-000                            $860.00           $449,328.53
                                                            Dividend: 100.00;
06/22/2021           6005      A. BURTON SHUFORD            Trustee Compensation                              2100-000                          $27,694.55          $421,633.98
06/22/2021           6006      A. BURTON SHUFORD            Trustee Expenses                                  2200-000                             $38.79           $421,595.19
06/22/2021           6007      EDWARD P. BOWERS             Final Distribution Claim #: ; Distribution        3420-000                             $14.60           $421,580.59
                                                            Dividend: 100.00;
06/22/2021           6008      EDWARD P. BOWERS             Final Distribution Claim #: ; Distribution        3410-000                           $2,628.75          $418,951.84
                                                            Dividend: 100.00;
06/22/2021           6009      R. Keith Johnson             Final Distribution Claim #: ; Distribution        3110-000                           $4,070.00          $414,881.84
                                                            Dividend: 100.00;
06/22/2021           6010      Farm Credit of Northwest     Final Distribution Claim #: 3;                    7100-000                          $12,822.06          $402,059.78
                               Florida, ACA                 Distribution Dividend: 1.75;
06/22/2021            6011     International Fidelity       Final Distribution Claim #: 4;                    7100-000                          $46,179.25          $355,880.53
                               Insurance Company            Distribution Dividend: 1.75;
06/22/2021           6012      Clerk, US Bankruptcy         Small Dividends                                       *                                    $2.47        $355,878.06
                               Court
                                                            Claim Amount                            $(2.47)   7100-001                                              $355,878.06
06/22/2021           6013      Cessna Finance Corp.         Final Distribution Claim #: 7;                    7100-000                           $6,296.11          $349,581.95
                                                            Distribution Dividend: 1.75;
06/22/2021           6014      Wells Fargo Bank, N.A.       Final Distribution Claim #: 8;                    7100-000                          $63,492.36          $286,089.59
                                                            Distribution Dividend: 1.75;
06/22/2021           6015      Wells Fargo Bank, N.A.       Final Distribution Claim #: 9;                    7100-000                         $265,663.03           $20,426.56
                                                            Distribution Dividend: 1.75;
06/22/2021           6016      Wells Fargo Bank, N.A.       Final Distribution Claim #: 10;                   7100-000                          $18,817.53             $1,609.03
                                                            Distribution Dividend: 1.75;
06/22/2021           6017      CommunityOne Bank            Final Distribution Claim #: 14;                   7100-000                           $1,609.03                 $0.00
                                                            Distribution Dividend: 1.75;




                                                                                                         SUBTOTALS          $479,323.81        $479,323.81
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                                                 CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                         12-31051-JCW                                                             Trustee Name:                            A. Burton Shuford
Case Name:                       ADKINS, MARK ROBERT                                                      Bank Name:                               Independent Bank
Primary Taxpayer ID #:           **-***2664                                                               Checking Acct #:                         ******1051
Co-Debtor Taxpayer ID #:                                                                                  Account Title:
For Period Beginning:            5/4/2012                                                                 Blanket bond (per case limit):           $5,000,000.00
For Period Ending:               9/7/2021                                                                 Separate bond (if applicable):

      1                 2                   3                                   4                                            5                 6                   7

  Transaction        Check /            Paid to/                    Description of Transaction            Uniform          Deposit     Disbursement            Balance
     Date             Ref. #         Received From                                                       Tran Code           $              $


                                                               TOTALS:                                                  $479,323.81        $479,323.81                 $0.00
                                                                   Less: Bank transfers/CDs                             $479,323.81              $0.00
                                                               Subtotal                                                       $0.00        $479,323.81
                                                                   Less: Payments to debtors                                  $0.00              $0.00
                                                               Net                                                            $0.00        $479,323.81


 For the period of 5/4/2012 to 9/7/2021                                             For the entire history of the account between 03/01/2021 to 9/7/2021

 Total Compensable Receipts:                                $0.00                   Total Compensable Receipts:                                      $0.00
 Total Non-Compensable Receipts:                            $0.00                   Total Non-Compensable Receipts:                                  $0.00
 Total Comp/Non Comp Receipts:                              $0.00                   Total Comp/Non Comp Receipts:                                    $0.00
 Total Internal/Transfer Receipts:                    $479,323.81                   Total Internal/Transfer Receipts:                          $479,323.81


 Total Compensable Disbursements:                     $479,323.81                   Total Compensable Disbursements:                           $479,323.81
 Total Non-Compensable Disbursements:                       $0.00                   Total Non-Compensable Disbursements:                             $0.00
 Total Comp/Non Comp Disbursements:                   $479,323.81                   Total Comp/Non Comp Disbursements:                         $479,323.81
 Total Internal/Transfer Disbursements:                     $0.00                   Total Internal/Transfer Disbursements:                           $0.00
                 Case 12-31051                    Doc 206     Filed 09/07/21 Entered 09/07/21 16:42:34                                Desc Main
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                                                              Document                                                                           Exhibit 9
                                                   CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                           12-31051-JCW                                                         Trustee Name:                            A. Burton Shuford
Case Name:                         ADKINS, MARK ROBERT                                                  Bank Name:                               UNITED BANK
Primary Taxpayer ID #:             **-***2664                                                           Checking Acct #:                         ******3771
Co-Debtor Taxpayer ID #:                                                                                Account Title:
For Period Beginning:              5/4/2012                                                             Blanket bond (per case limit):           $5,000,000.00
For Period Ending:                 9/7/2021                                                             Separate bond (if applicable):

       1                2                     3                                    4                                       5                 6                   7

   Transaction       Check /              Paid to/                    Description of Transaction         Uniform         Deposit       Disbursement          Balance
      Date            Ref. #           Received From                                                    Tran Code          $                $


02/13/2018                     UNION BANK                   WIRE FROM UNION BANK                        9999-000         $72,028.65                            $72,028.65
02/22/2018            (42)     R. Keith Johnson, Trustee    Money transferred from our office trust     1290-000         $65,355.02                           $137,383.67
                                                            account per order dated 02/01/2018
02/27/2018            101      International Fidelity       Pursuant to consent order entered in AP     4220-000                          $40,000.00           $97,383.67
                               Insurance Co.                16-03307 entered on February 1, 2018,
                                                            DOC 45
02/27/2018            102      Yeopim Partners, LLC         Pursuant to consent order entered in AP     4220-000                          $15,000.00           $82,383.67
                                                            16-03307 entered on February 1, 2018,
                                                            DOC 45
02/28/2018                     United Bank                  Bank and Technology Services Fees           2600-000                             $67.46            $82,316.21
03/30/2018                     United Bank                  Bank and Technology Services Fees           2600-000                            $145.72            $82,170.49
04/30/2018                     United Bank                  Bank and Technology Services Fees           2600-000                            $114.24            $82,056.25
05/31/2018                     United Bank                  Bank and Technology Services Fees           2600-000                            $129.83            $81,926.42
06/20/2018            103      R. P. A. KEITH               Attorney for the Trustee interim fees       3110-000                          $29,940.00           $51,986.42
                               JOHNSON
06/20/2018            104      R. Keith Johnson             Interim Trustee Comission                   2100-000                           $4,249.08           $47,737.34
06/29/2018                     United Bank                  Bank and Technology Services Fees           2600-000                            $100.79            $47,636.55
07/31/2018                     United Bank                  Bank and Technology Services Fees           2600-000                             $73.08            $47,563.47
08/31/2018                     United Bank                  Bank and Technology Services Fees           2600-000                             $70.69            $47,492.78
09/28/2018                     United Bank                  Bank and Technology Services Fees           2600-000                             $63.75            $47,429.03
11/01/2018            105      INTERNATIONAL                Bond Payment                                2300-000                             $22.91            $47,406.12
                               SURETIES INC
04/10/2019            106      R. KEITH JOHNSON, PA         Attorney for Trustee Expenses               3120-000                            $615.77            $46,790.35
04/24/2019            107      Napples Court Reporting      Court Reporter Invoice                      2990-000                            $229.37            $46,560.98
                               & Legal Services, LLC
08/29/2019            108      R. Keith Johnson, P.A.       Filing Fees                                 3120-000                            $350.00            $46,210.98
09/04/2019            109      Burt Shuford, Trustee        Transfer of funds to successor trustee      9999-000                          $46,210.98                 $0.00




                                                                                                      SUBTOTALS       $137,383.67        $137,383.67
                 Case 12-31051                  Doc 206    Filed 09/07/21 Entered 09/07/21 16:42:34                                   Desc Main
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                                                           Document                                                                                Exhibit 9
                                                 CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                         12-31051-JCW                                                             Trustee Name:                            A. Burton Shuford
Case Name:                       ADKINS, MARK ROBERT                                                      Bank Name:                               UNITED BANK
Primary Taxpayer ID #:           **-***2664                                                               Checking Acct #:                         ******3771
Co-Debtor Taxpayer ID #:                                                                                  Account Title:
For Period Beginning:            5/4/2012                                                                 Blanket bond (per case limit):           $5,000,000.00
For Period Ending:               9/7/2021                                                                 Separate bond (if applicable):

      1                 2                   3                                   4                                            5                 6                   7

  Transaction        Check /            Paid to/                    Description of Transaction            Uniform          Deposit     Disbursement             Balance
     Date             Ref. #         Received From                                                       Tran Code           $              $


                                                               TOTALS:                                                  $137,383.67        $137,383.67                 $0.00
                                                                   Less: Bank transfers/CDs                              $72,028.65         $46,210.98
                                                               Subtotal                                                  $65,355.02         $91,172.69
                                                                   Less: Payments to debtors                                  $0.00              $0.00
                                                               Net                                                       $65,355.02         $91,172.69


 For the period of 5/4/2012 to 9/7/2021                                             For the entire history of the account between 02/13/2018 to 9/7/2021

 Total Compensable Receipts:                           $65,355.02                   Total Compensable Receipts:                                    $65,355.02
 Total Non-Compensable Receipts:                            $0.00                   Total Non-Compensable Receipts:                                     $0.00
 Total Comp/Non Comp Receipts:                         $65,355.02                   Total Comp/Non Comp Receipts:                                  $65,355.02
 Total Internal/Transfer Receipts:                     $72,028.65                   Total Internal/Transfer Receipts:                              $72,028.65


 Total Compensable Disbursements:                      $91,172.69                   Total Compensable Disbursements:                               $91,172.69
 Total Non-Compensable Disbursements:                       $0.00                   Total Non-Compensable Disbursements:                                $0.00
 Total Comp/Non Comp Disbursements:                    $91,172.69                   Total Comp/Non Comp Disbursements:                             $91,172.69
 Total Internal/Transfer Disbursements:                $46,210.98                   Total Internal/Transfer Disbursements:                         $46,210.98
                 Case 12-31051                  Doc 206    Filed 09/07/21 Entered 09/07/21 16:42:34                                   Desc Main
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                                                                 FORM 2Page 20 of 20
                                                           Document                                                                              Exhibit 9
                                                 CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                         12-31051-JCW                                                             Trustee Name:                          A. Burton Shuford
Case Name:                       ADKINS, MARK ROBERT                                                      Bank Name:                             UNITED BANK
Primary Taxpayer ID #:           **-***2664                                                               Checking Acct #:                       ******3771
Co-Debtor Taxpayer ID #:                                                                                  Account Title:
For Period Beginning:            5/4/2012                                                                 Blanket bond (per case limit):         $5,000,000.00
For Period Ending:               9/7/2021                                                                 Separate bond (if applicable):

      1                 2                   3                                   4                                            5               6                   7

  Transaction        Check /            Paid to/                    Description of Transaction            Uniform          Deposit     Disbursement          Balance
     Date             Ref. #         Received From                                                       Tran Code           $              $




                                                                                                                                                NET           ACCOUNT
                                                                         TOTAL - ALL ACCOUNTS                    NET DEPOSITS              DISBURSE          BALANCES

                                                                                                                        $646,372.14    $646,372.14                   $0.00




 For the period of 5/4/2012 to 9/7/2021                                             For the entire history of the case between 05/04/2012 to 9/7/2021

 Total Compensable Receipts:                          $688,789.07                   Total Compensable Receipts:                              $688,789.07
 Total Non-Compensable Receipts:                            $0.00                   Total Non-Compensable Receipts:                                $0.00
 Total Comp/Non Comp Receipts:                        $688,789.07                   Total Comp/Non Comp Receipts:                            $688,789.07
 Total Internal/Transfer Receipts:                    $597,563.44                   Total Internal/Transfer Receipts:                        $597,563.44


 Total Compensable Disbursements:                     $688,789.07                   Total Compensable Disbursements:                         $688,789.07
 Total Non-Compensable Disbursements:                       $0.00                   Total Non-Compensable Disbursements:                           $0.00
 Total Comp/Non Comp Disbursements:                   $688,789.07                   Total Comp/Non Comp Disbursements:                       $688,789.07
 Total Internal/Transfer Disbursements:               $597,563.44                   Total Internal/Transfer Disbursements:                   $597,563.44




                                                                                                     /s/ A. BURTON SHUFORD
                                                                                                     A. BURTON SHUFORD
